Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24   Desc:
           Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 1 of 19




                           EXHIBIT 33
                Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24   Desc:
                           Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 2 of 19




Puerto Rico Department of Treasury
Treasury Single Account ("TSA") FY 2019 Cash Flow
As of March 8, 2019




                                                                                                  1
                                 Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24                                      Desc:
                                            Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 3 of 19

Disclaimer


 - The Puerto Rico Fiscal Agency and Financial Advisory Authority (“AAFAF”), the Government of Puerto Rico (the “Government”), and each of their respective officers,
   directors, employees, agents, attorneys, advisors, members, partners or affiliates (collectively, with AAFAF and the Government the “Parties”) make no representation or
   warranty, express or implied, to any third party with respect to the information contained herein and all Parties expressly disclaim any such representations or warranties.

 - The Parties do not owe or accept any duty or responsibility to any reader or recipient of this presentation, whether in contract or tort, and shall not be liable for or in respect
   of any loss, damage (including without limitation consequential damages or lost profits) or expense of whatsoever nature of such third party that may be caused by, or
   alleged to be caused by, the use of this presentation or that is otherwise consequent upon the gaining of access to this document by such third party.

 - This document does not constitute an audit conducted in accordance with generally accepted auditing standards, an examination of internal controls or other attestation or
   review services in accordance with standards established by the American Institute of Certified Public Accountants or any other organization. Nor does this document
   constitute an audit of compliance with any other federal law, rule, or regulation. Accordingly, the Parties do not express an opinion or any other form of assurance on the
   financial statements or any financial or other information or the internal controls of the Government and the information contained herein.

 - Any statements and assumptions contained in this document, whether forward-looking or historical, are not guarantees of future performance and involve certain risks,
   uncertainties, estimates and other assumptions made in this document. The economic and financial condition of the Government and its instrumentalities is affected by
   various financial, social, economic, environmental and political factors. These factors can be very complex, may vary from one fiscal year to the next and are frequently the
   result of actions taken or not taken, not only by the Government and its agencies and instrumentalities, but also by entities such as the government of the United States.
   Because of the uncertainty and unpredictability of these factors, their impact cannot be included in the assumptions contained in this document. Future events and actual
   results may differ materially from any estimates, projections, or statements contained herein. Nothing in this document should be considered as an express or implied
   commitment to do or take, or to refrain from taking, any action by AAFAF, the Government, or any government instrumentality in the Government or an admission of any
   fact or future event. Nothing in this document shall be considered a solicitation, recommendation or advice to any person to participate, pursue or support a particular
   course of action or transaction, to purchase or sell any security, or to make any investment decision.


 - By receiving this document, the recipient shall be deemed to have acknowledged and agreed to the terms of these limitations.

 - This document may contain capitalized terms that are not defined herein, or may contain terms that are discussed in other documents or that are commonly understood.
   You should make no assumptions about the meaning of capitalized terms that are not defined, and you should consult with advisors of AAFAF should clarification be
   required.




                                                                                                                                                                                         2
                                     Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24                                                                                            Desc:
                                                Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 4 of 19

Glossary


Term                       Definition
ACAA                     - Automobile Accident Compensation Administration, or Administración de Compensaciones por Accidentes de Automoviles, is a component unit of the Commonwealth of Puerto Rico.
Act 154                  - Act 154 means Act No. 154-2010, which, inter alia, imposes a temporary excise tax on the acquisition by multinationals of certain property manufactured or produced in whole or in part in Puerto Rico and on the acquisition
                           of certain manufacturing services carried out in Puerto Rico. The Act 154 temporary excise tax expires on December 31, 2027.
AFI / PRIFA              - Infrastructure Financing Authority.
Agency Collections       - Collections made by central government agencies at collection posts for services rendered by the agencies as well as fees, licenses, permits, fines and others.
ASC                      - Compulsory Liability Insurance, private insurance company.
ASES                       Puerto Rico Health Insurance Administration, a public corporation and component unit of the Commonwealth of Puerto Rico.
BBA                      - BBA refers to the Bipartisan Budget Act of 2018 passed by the United States Congress on 2/9/2018. The BBA includes provisions for additional disaster relief funding for Puerto Rico in addition to incremental federal funds to
                           support Puerto Rico's public health care costs (Medicaid funding) for two years.
CINE                     - Puerto Rico Cinema Fund, a recipient of certain assigned sales and use tax revenues.
COFINA                   - Puerto Rico Sales Tax Financing Corporation.
DTPR                     - Department of the Treasury of Puerto Rico.
DTPR Collection System   - This is the software system that DTPR uses for collections.
FAM                      - Muncipal Fund Administration, a recipient of certain assigned sales and use tax revenues.
General Collections      - All Gross tax collections received and deposited into the TSA from all Hacienda Collection Posts and/or through the Hacienda Colecturia Virtual (online).
General Fund             - General Fund (Operating Fund) means the Commonwealth principal operating fund; disbursements from such fund are generally approved through the Commonwealth’s annual budgeting process.
HTA                      - Puerto Rico Highways and Transportation Authority, a public corporation and a component unit of the Commonwealth of Puerto Rico.
JRS                      - Judiciary Retirement System means the Retirement System for the Judiciary of the Commonwealth of Puerto Rico, a statutory trust created to provide pension and other benefits to retired judges of the Judiciary Branch of
                           the Commonwealth. JRS is a fiduciary fund of the Commonwealth of Puerto Rico for purposes of the Commonwealth’s financial statements.
Liquidity Plan (LP)      - The Liquidity Plan is the translation of the Certified Fiscal Plan (“CFP”) and Certified Budget (“Budget”) into a cash flow projection. The TSA Liquidity Plan encompasses all cash flow activity within the TSA. Certain cash flow
                           activity is contemplated in the CFP and Budget, but occurs outside the TSA. Cash flow bridges from the TSA to the CFP and Budget have been included to facilitate comparison.
Net Payroll              - Net payroll is equal to gross payroll less tax withholdings and other deductions.
NAP                      - NAP, or the Nutrition Assistance Program, also known as PAN, or Programa de Asistencia Nutricional is a federal assistance nutritional program provided by the United States Department of Agriculture (USDA) solely to
                           Puerto Rico.
Pension PayGo            - Pension PayGo - Puerto Rico pension system that is funded through a pay-as-you-go system. Retirement benefits expenses of government employers are paid by the central government and reimbursed by the employers,
                           with such funds received by the TSA.
PREPA                    - Puerto Rico Electric Power Authority, a public corporation and a component unit of the Commonwealth of Puerto Rico.
PRHA                     - Puerto Rico Housing Authority, a public corporation and a component unit of the Commonwealth of Puerto Rico.
PSTBA                    - The PSTBA is an amount established under Act 91-2006, as amended, and the Sales Tax Revenue Bond Resolution, as amended and restated on June 10, 2009 (the “Bond Resolution”), that currently must be received by
                           COFINA from 5.5% of the SUT before the Commonwealth can receive any of the other 5.5% SUT.
Public Corporation       - Public corporations are governmental authorities with autonomous structure separate from the central government administration and with independent treasury functions.
Retained Revenues        - Revenues conditionally assigned to certain public corporations and the collections of those revenues are through accounts referred to as “pass through” accounts. The largest of these pass-through accounts consist of (i)
                           AACA auto insurance, (ii) AFI/RBC petroleum tax, (iii) ASC personal injury insurance, (iv) HTA toll revenues.
SIFC                     - State Insurance Fund Corporation, a public corporation and a component unit of the Commonwealth of Puerto Rico.
Special Revenue Funds    - Commonwealth governmental funds separate from the General Fund that are created by law, are not subject to annual appropriation and have specific uses established by their respective enabling legislation. Special
                           Revenue Funds are funded from, among other things, revenues from federal programs, tax revenues assigned by law to public corporations and other third parties, fees and charges for services by agencies, dividends from
                           public corporations and financing proceeds.
SURI                     - Sistema Unificada de Rentas Internas is the new digital tool of the Department of the Treasury that will allow integration and streamlining of the administration of taxes and revenues and eliminate the complexity of the
                           current systems for the benefit of the Treasury and the taxpayers.
TSA                      - Treasury Single Account, the Commonwealth’s main operational bank account (concentration account) in which a majority of receipts from Governmental funds are deposited and from which most expenses are disbursed.
                           TSA receipts include tax collections, charges for services, intergovernmental collections, the proceeds of short and long-term debt issuances and amounts held in custody by the Secretary of the Treasury for the benefit of the
                           Commonwealth’s fiduciary funds. Only a portion of the revenues received by the TSA is included in the annual General Fund budget presented to the Puerto Rico Legislative Assembly for approval. Other revenues are
                           separately assigned by law to certain agencies or public corporations but still flow through the TSA.




                                                                                                                                                                                                                                                                 3
                                 Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24                                          Desc:
                                            Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 5 of 19

Introduction


 - Enclosed is the weekly Treasury Single Account ("TSA") cash flow report and supporting schedules with weekly actual results YTD FY19 compared to the FY2019 Liquidity
   Plan. Note that on September 6, 2017 Hurricane Irma made landfall on Puerto Rico, followed by Hurricane Maria on September 20, 2017. Variances that arise when
   compared to the prior year may be largely driven by differences in September and October in the comparable period in FY18 and are largely driven by the DTPR's limited
   ability to make disbursements and collect receipts immediately following the hurricanes.

 - TSA is the Commonwealth’s main operational bank account (concentration account) in which a majority of receipts from Governmental funds are deposited and from which
   most expenses are disbursed.

 - Receipts in the TSA include tax collections (including revenues assigned to certain public corporations and pledged for the payment of their debt service), charges for
   services, intergovernmental collections (such as reimbursements from Federal assistance grants), the proceeds of short and long-term debt issuances held in custody by the
   Secretary of Treasury for the benefit of the Government fiduciary funds, and other receipts. Only a portion of the revenues received by the TSA is included in the annual
   General Fund budget presented to the Puerto Rico Legislative Assembly for approval. Other revenues are separately assigned by law to certain agencies or public
   corporations but still flow through the TSA.

 - Disbursements from the TSA include payroll and related costs, vendor and operational disbursements (including those reimbursed by Federal assistance grants and funded
   from Special Revenue Funds), welfare expenditures, capital outlays, debt service payments, required budgetary formulas and appropriation payments, pass-through
   payments of pledged revenues to certain public corporations, tax refunds, payments of current pension benefits and other disbursements.

 - Federal funds related to disaster relief for hurricanes Irma and Maria are deposited in a separate bank account overseen by the Government Authorized Representative
   ("GAR"), and transferred to the TSA only after admissible disbursements (per approved Project Worksheets) have been made.

 - Data limitations and commentary:
    The government has focused on cash transaction information for which access to reliable, timely, and detailed data is readily available. The government continues to work
    with DTPR and other parties to access additional reliable data that would help to provide additional detail in the future.




                                                                                                                                                                                4
                              Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24                    Desc:
                                         Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 6 of 19                                      As of March 8, 2019

Puerto Rico Department of Treasury | AAFAF
Executive Summary - TSA Cash Flow Actual Results
(figures in Millions)

                      $5,122                       $147                    $126                    $2,024                       $1,325
                 Bank Cash Position           Weekly Cash Flow         Weekly Variance        YTD Net Cash Flow        YTD Net Cash Flow Variance

        Bridge from Liquidity Plan projected cash balance and actual ending cash balance as of March 8, 2019

          Cash Flow line item                                 Variance Bridge    Comments

        Liquidity Plan Projected Cash Balance at 3/8/2019:         $    3,797   1. COFINA Plan of Adjustment settlement amounts were received
                                                                                throughout the week ended February 15, 2019 in accordance with the
      1 State Collections: COFINA Plan of Adjustment settlement          412
                                                                                approved Title III COFINA Adjustment Plan. This variance is mostly
      2 State Collections: All Other                                     344    temporary, as these inflows were originally projected in June (pg. 12).
                                                                                2. State collections which primarily consist of the General Fund
      3 Federal Fund Net Cash Flow Variance                              319
                                                                                revenues (excluding SUT $412M in COFINA Plan of Adjustment
      4 PREPA Loan Repayment                                             147    settlement amounts) are ahead of plan. A determination whether this
      5 All Other                                                        103    variance is timing or permanent has not been made.
                                                                                3. Total difference between projected and actual Federal Fund net cash
        Actual Cash Balance at 3/8/2019:                           $    5,122   flows (FF inflows less FF outflows) is driven by temporary variances due
                                                                                to receiving funds for Medicaid, Nutritional Assistance, disaster-related
                                                                                expenditures, and other federal programs in advance of their
                                                                                subsequent disbursement.
                                                                                4. YTD variance due to excess revenues collected by PREPA that were
                                                                                applied to the repayment of the $300M loan extended to PREPA by the
                                                                                Central Government. As of the date of this report, total FY19 PREPA
                                                                                loan is fully repaid.




Source: DTPR                                                                                                                                                5
                                  Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24                                                    Desc:
                                             Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 7 of 19                                                                           As of March 8, 2019

Puerto Rico Department of Treasury | AAFAF
YTD TSA Cash Flow Summary - Actual vs LP




                                                                                    TSA Cumulative YTD Net Cash Flow ($M)


                                                                                   Actual Bank Cash Balance: $5,122
                  $2,350                                                           LP Bank Cash Balance:     $3,797

                  $1,850

                                                                                                                                                                                        $1,325
                  $1,350


                    $850


                    $350

                                                                                               (Date)
                   -$150




                                                                         Net YTD Actual Cumulative Cash Flow       LP YTD Cumulative Cash Flow



       YTD Actuals vs. Liquidity Plan
       YTD net cash flow is $2,024M and cash flow variance to the Liquidity Plan is +$1,325M. The cash build in FY19 is largely due to strong General Fund collections; on track spending; $412M in
       COFINA Plan of Adjustment settlement amounts; and enhanced federal Medicaid support at ASES, resulting in less required General Fund / TSA support.




Source: DTPR                                                                                                                                                                                          6
                                        Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24                                                                                    Desc:
                                                   Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 8 of 19                                                                                                           As of March 8, 2019

Puerto Rico Department of Treasury | AAFAF
YTD Cash Flow Summary - TSA Cash Flow Actual Results


       Net Cash Flow - YTD Actuals                                                                                 TSA YTD Cash Flow Actuals: Key Cash Flow Concepts ($M)
   1.) Federal Fund inflows of $7B represent 43% of YTD inflows,
                                                                     $20,000
       but are largely offset by Federal Fund disbursements, with
                                                                                                                      6,548
       YTD net surplus of $471M (pg.13) contributing to the          $18,000
       $2,024M cash build in FY19. State fund cash flows account
                                                                     $16,000
       for the remainder of the forecast with the primary positive
       drivers being strong General Fund collections and on-         $14,000
       budget spending.                                                                                                              (3,223)
                                                                     $12,000                       8,212

                                                                     $10,000
                                                                                                                                                       (2,806)

                                                                      $8,000                                                                                              (2,347)

                                                                      $6,000                                                                                                             (2,155)
                                                                      $4,000                                                                                                                          (2,205)
                                                                      $2,000
                                                                                                                                                                                                                      5,122
                                                                                    3,098
                                                                         $0                            -                  -               -                -                 -                              -
                                                                                  Beg Cash     State collections     FF receipts    Appropriations       Vendor         Payroll &           NAP       All Other   Ending Cash 3/8
                                                                                   7/1/18                                                            Disbursements    Related Costs

       Net Cash Flow YTD Variance - LP vs. Actual
   1.) The largest YTD variance driver is $412M in COFINA
                                                                                                                              TSA YTD Top Cash Flow Variances ($M)
       Plan of Adjustment settlement amounts received
       ahead of Plan. Remaining variances are minimal and
                                                                                                                                      +$1,325M YTD Variance
       likely timing related. Although, continued
                                                                     $6,000
       outperformance in state collections could indicate a
       permanent, positive trend and will be monitored                                                                                                                                 65            (49)
                                                                                                                              319                147                 87
       closely.                                                      $5,000
                                                                                                       756

                                                                     $4,000



                                                                     $3,000
                                                                                                                                                                                                                     5,122
                                                                                   3,797
                                                                     $2,000



                                                                     $1,000



                                                                         $0
                                                                               LP Cash Bal 3/8/19 State collections Temporary FF Net          PREPA Loan         Tax Refunds          Paygo         All Other     Actual Cash Bal
                                                                                                                       Cash flow              Repayments       & Garnishments         Charge                           3/8




Source: DTPR                                                                                                                                                                                                                            7
                                                     Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24                                          Desc:
                                                                Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 9 of 19                                                     As of March 8, 2019

Puerto Rico Department of Treasury | AAFAF
TSA Cash Flow Actual Results for the Week Ended March 8, 2019

                                                                         FY19 Actual   FY19 LP     Variance    FY19 Actual   FY19 LP     FY18 Actual   Variance YTD
       (figures in Millions)                                                3/8          3/8         3/8          YTD          YTD         YTD (a)      FY19 vs LP
     State Collections
 1   General fund collections (b)                                             $147        $111          $36       $6,147      $6,207        $5,313          ($60)
 2   Non-General fund pass-through collections (c)                              10          61          (51)         547         716           735          (169)
 3   Other special revenue fund collection                                       9          13           (4)         377         398           351           (21)
 4   Other state collections (d)                                               110           1          109        1,141         135           187         1,006
 5 Subtotal - State collections                                               $276        $186          $90       $8,212      $7,456        $6,586         $756

     Federal Fund Receipts
6    Medicaid                                                                    4           6           (2)       1,947       1,894        $1,231            53
7    Nutrition Assistance Program                                               38          35            3        2,205       2,199         1,370             6
8    FEMA                                                                       27          22            5          839         703            33           136
9    Employee Retention Credits (ERC)                                            –          18          (18)         410         535             –          (125)
10   Vendor Disbursements, Payroll, & Other                                     18          53          (35)       1,147       1,446           764          (299)
11 Subtotal - Federal Fund receipts                                            $87        $134         ($47)      $6,548      $6,777        $3,398         ($229)

     Balance Sheet Related
12   Paygo charge                                                               12           –           12          297         232           566            65
13   Public corporation loan repayment                                          33           –           33          300         153             –           147
14   Other                                                                       –           –            –            –           –             –             –
15 Subtotal - Other Inflows                                                    $45           –          $45         $597        $385          $566          $212

16     Total Inflows                                                          $408        $320          $88      $15,357     $14,618       $10,550          $739

     Payroll and Related Costs (e)
17   General Fund                                                               (21)         (1)        (20)       (1,861)     (1,794)       (2,048)         (67)
18   Federal Fund                                                                (7)          –          (7)         (367)       (396)         (430)          29
19   Other State Funds                                                           (3)          –          (3)         (119)        (95)         (102)         (24)
20 Subtotal - Payroll and Related Costs                                        ($31)        ($1)       ($30)      ($2,347)    ($2,285)      ($2,580)        ($62)

     Vendor Disbursements (f)
21   General fund                                                              (38)        (44)           6          (990)     (1,153)         (810)         163
22   Federal fund                                                              (56)        (62)           6        (1,373)     (1,711)         (488)         338
23   Other State fund                                                          (18)         (7)         (11)         (443)       (392)         (458)         (51)
24 Subtotal - Vendor Disbursements                                           ($112)      ($113)          $1       ($2,806)    ($3,256)      ($1,756)        $450

     Appropriations - All Funds
25   General Fund                                                             (100)       (111)          11        (1,117)     (1,130)       (1,759)          13
26   Federal Fund                                                                –          (1)           1        (1,772)     (1,812)       (1,118)          40
27   Other State Fund                                                            –          (1)           1          (334)       (269)         (274)         (65)
28 Subtotal - Appropriations - All Funds                                     ($100)      ($113)         $13       ($3,223)    ($3,211)      ($3,151)        ($12)

     Other Disbursements - All Funds
29   Pension Benefits                                                             –          –            –        (1,584)     (1,648)       (1,402)          64
30   Tax Refunds & Garnishments (g)                                              (1)       (26)          25          (656)       (743)         (308)          87
31   Nutrition Assistance Program                                               (44)       (37)          (7)       (2,155)     (2,170)       (1,342)          15
32   Title III Costs                                                             (2)        (7)           5          (166)       (163)            –           (3)
33   FEMA Cost Share                                                              –         (2)           2          (135)       (170)            –           35
34   Other Disbursements                                                         29          –           29          (261)       (273)          (58)          12
35   Cash Reserve                                                                 –          –            –             –           –             –            –
36   Loans and Tax Revenue Anticipation Notes                                     –          –            –             –           –          (300)           –
37 Subtotal - Other Disbursements - All Funds                                  ($18)      ($72)         $54       ($4,957)    ($5,167)      ($3,411)        $210

38     Total Outflows                                                        ($261)      ($299)         $38      ($13,333)   ($13,919)     ($10,898)        $586

39     Net Cash Flow                                                           147         $21         $126       $2,024        $699          ($348)      $1,325

40     Bank Cash Position, Beginning (h)                                      4,975       3,776       1,199         3,098       3,098         1,799            -

41     Bank Cash Position, Ending (h)                                       $5,122      $3,797       $1,325       $5,122      $3,797        $1,451        $1,325

     Note: Refer to the next page for footnote reference descriptions.



Source: DTPR                                                                                                                                                                                   8
                          Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24                Desc:
                                     Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 10 of 19                                As of March 8, 2019

Puerto Rico Department of Treasury | AAFAF
FY19 TSA Cash Flow Actual Results - Footnotes


    Footnotes:
(a) Represents FY2018 actual results through March 9, 2019.
(b) Represents gross tax collections received and deposited from all Hacienda Collection Posts, through the Hacienda Colecturia Virtual
    (online) and/or SURI.
(c) These revenues are collected by DTPR and immediately appropriated.
(d) Inflows related to the State Insurance Fund, the Department of Labor and Human Resources, the Commissioner of Financial Institutions,
    and others. Additionally, as of the date of this report, the "Other State Collections" line item includes approximately $909M in
    unreconciled collections due to DTPR transition to collecting various gross tax receipts through the new SURI system. The transition
    from the Hacienda Colecturia collections system to SURI is ongoing and as such, revenue concept detail for the general tax SURI
    collections is not available at this time for the portion of collections received by the new general tax SURI account. This resulted in
    timing-related unreconciled gross colections (approximately $909M) which will be retroactively allocated to "General Collections" as
    appropriate once this information becomes available.
(e) Represents total gross payroll. Gross payroll includes net payroll disbursed to government employees, cash transfers to the Police
    Department for payroll costs, and other payroll related costs (employee withholdings, social security, insurance, and other deductions).
(f) Includes payments to third-party vendors as well as intergovernmental payments to agencies with separate Treasuries.
(g) FY 2019 includes $84mm of garnishments and $800mm in Federally Funded Employee Retention Credits.
(h) Excludes BPPR Clawback Accounts (for clawback revenues prior to June 2016) of $146mm.




Source: DTPR                                                                                                                                    9
                                       Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24                                                                        Desc:
                                                  Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 11 of 19                                                                                                As of March 8, 2019

Puerto Rico Department of Treasury | AAFAF
General Fund Collections Summary


       Key Takeaways / Notes                                                                           General Fund Collections Year to Date: Actual vs. Forecast ($M)
                                                                                                                                              Actual         LP                   Var $           Var %
                                                                                                                                             YTD 3/8       YTD 3/8               YTD 3/8         YTD 3/8
   1.) On December 10, 2018, the Department of the                                 General Fund Collections
       Treasury began collecting certain taxes through its                           Corporations                                       $       1,124 $         1,074      $           50              5%
       unified internal revenue system. The transition of                            Individuals                                                1,195           1,484                (289)           -19%
       various gross tax collections from Hacienda Colecturia                        Act 154                                                    1,221           1,135                  86              8%
       to SURI is ongoing and as such, revenue concept                               Non Residents Withholdings                                   315             471                (156)           -33%
       detail for the general tax SURI collections is not                            Motor Vehicles                                               280             315                 (35)           -11%
       available at this time, resulting in unallocated TSA                          Rum Tax                                                      162             159                   3              2%
       Collections of approximately approximately $909M.                             Alcoholic Beverages                                          148             185                 (37)           -20%
                                                                                     Cigarettes                                                    93             142                 (49)           -35%
                                                                                     Other General Fund                                           158             216                 (58)           -27%
                                                                                   Total (a)                                                   $4,696          $5,181               ($485)            -9%

   2.) SUT Collections variance is mostly due to $412M in                            SUT Collections (b)                                        1,450           1,025                425             41%
       COFINA Plan of Adjustment settlement amounts
       received throughout the week ended February 15,                             Total General Fund Collections                        $      6,146 $         6,206        $        (60)            -1%
       2018 in accordance with the approved Title III COFINA
       Adjustment Plan. This variance is mostly temporary,
       as these inflows were originally projected in June.


                                             YTD General Fund Receipts Cumulative Variance Liquidity Plan vs. Actual Cumulative Variance by Category (c) ($M)
                                                           Individual Income Tax                           Corporate Income Tax                  Non Residents Witholdings

                                                           Act 154 Collections                             SUT                                   All Other General Fund Receipts
                             $500
                             $400
                             $300
                             $200
                             $100
                                $-
                            $(100)
                            $(200)
                            $(300)
                            $(400)
                                     12/28       1/4            1/11             1/18         1/25               2/1              2/8   2/15            2/22             3/1               3/8
        Footnotes:                                                                               (Date)
    (a) Receipts in collections accounts occur approximately two business days prior to being deposited into the TSA.
    (b) SUT collections excludes PSTBA, FAM & CINE, and only includes the amounts deposited into the TSA for General Fund use.
    (c) The Liquidity Plan incorporates actual results through December, hence there is no variance prior to week ended 1/4/19.



Source: DTPR                                                                                                                                                                                                                10
                                     Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24                                                                         Desc:
                                                Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 12 of 19                                                                                              As of March 8, 2019

Puerto Rico Department of Treasury | AAFAF
Non-General Fund Pass-Through Collections Summary (a)


       Key Takeaways / Notes                                                                    Non-GF Pass-through Collections Year to Date: Actual vs. Forecast ($M)
                                                                                                                                              Actual            LP               Var $        Var %
                                                                                                                                             YTD 3/8          YTD 3/8           YTD 3/8      YTD 3/8
   1.) YTD variance mainly relates to HTA pass-through                          Non-GF pass-throughs
       collections relating to gasoline and deisel taxes and                     HTA                                                     $         292 $           449     $        (157)        -35%
       are assumed to be temporary.                                              Transfer Petroleum Tax "CRUDITA"                                   98             103                 (5)        -5%
                                                                                 ACAA                                                               55              55               -             0%
                                                                                 ASC                                                                34              49               (15)        -31%
                                                                                 AFI                                                                 1               4                 (3)       -75%
                                                                                 Other Special Revenue Fund                                         67              56                11          20%

                                                                                Total Non-GF Collections                                 $        547     $        716     $        (169)        -24%




                                        YTD Non-General Fund Receipts Cumulative Variance Liquidity Plan vs. Actual Cumulative Variance by Category (b) ($M)


                                                           ACAA           AFI       ASC       HTA          Other Special Revenue Fund        Transfer Petroleum Tax "CRUDITA"



                    $20
                     $0
                   -$20
                   -$40
                   -$60
                   -$80
                  -$100
                  -$120
                  -$140
                  -$160
                  -$180
                          12/28       1/4           1/11           1/18            1/25           2/1             2/8             2/15            2/22              3/1              3/8
                                                                                            (Date)




        Footnotes
    (a) These amounts are collected by DTPR and immediately appropriated as set forth in the table on this page.
    (b) The Liquidity Plan incorporates actual results through December, hence there is no variance prior to week ended 1/4/19.




Source: DTPR                                                                                                                                                                                                            11
                                    Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24                                                           Desc:
                                               Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 13 of 19                                                                             As of March 8, 2019

Puerto Rico Department of Treasury | AAFAF
Sales and Use Tax Collections Summary


       Key Takeaways / Notes                                                                                        YTD Gross SUT Collections - General Fund and PSTB ($M)


   1.) Throughout FY2019 the first 5.5% (of total 10.5%) of gross SUT                            Total                                                                   $1,915
       collections were reserved for and deposited into the COFINA bank
       account held at BNY Mellon until the original $783M PSTBA cap
       was reached in January 2019. Until the cap was reached, 4.5% (of
       total 10.5%) was received into the general fund, and 0.5% (of total    General Fund Collections                                                    $1,450
       10.5%) was reserved for and remitted to FAM. Additionally,
       throughout the week ended February 15, 2019 DTPR received two
       payments relating to the COFINA Plan of Adjustment settlement in
       accordance with the approved COFINA adjustment plan: $44M                        COFINA (BNY)                   $371
       (portions of which had dedicated uses) on 2/12 from the Pre-FY19
       COFINA BNY deposits and $368M on 2/14 from FY19 COFINA BNY
       deposits. These payments to the Commonwealth did not affect
       gross SUT collections and are reflected in the graph to the right as                      FAM          $95
       deductions from the COFINA BNY total and additions to General
       Fund collections.
                                                                                                         $0             $500           $1,000          $1,500          $2,000     $2,500




Source: DTPR                                                                                                                                                                                          12
                                Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24                                              Desc:
                                           Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 14 of 19                                                                As of March 8, 2019

Puerto Rico Department of Treasury | AAFAF
Federal Funds Net Cash Flow Summary


       Key Takeaways / Notes                                                                                                                                              Net Cash
                                                                           Weekly FF Net Surplus (Deficit)                                       FF Inflows FF Outflows    Flow
   1.) Receipts for the Nutritional Assistance Program (NAP)                 Medicaid (ASES)                                                     $          4 $     -    $         4
       and Medicaid (ASES Pass-through) are received in                      Nutritional Assistance Program (NAP)                                          39       (42)          (3)
       advance of the subsequent pass through                                Payroll / Vendor Disbursements / Other Federal Programs                       18       (22)          (4)
       disbursements to NAP and ASES. There may be a lag                     FEMA / Disaster Funding                                                       27       (40)        (13)
       between receipt of federal funds and subsequent                       Employee Retention Credit (ERC)                                             -          -           -
       pass through outflows. Federal Funds received for                   Total (a)                                                             $        88       (104) $      (16)
       Employee Retention Credits are typically received and
       passed through to the appropriate entity within one                                                                                                               Net Cash
       business day that funds are received. Federal Funds                 YTD Cumulative FF Net Surplus (Deficit)                               FF Inflows FF Outflows   Flow
       received for Payroll and Vendor Payments are                          Medicaid (ASES)                                                     $    1,947 $ (1,772) $        175
       typically reimbursed following disbursement, though                   Nutritional Assistance Program (NAP)                                     2,205      (2,155)         50
       timing differences due to carryover vendor payments                   Payroll / Vendor Disbursements / Other Federal Programs                  1,147      (1,028)       119
       from prior years may create temporary surpluses.                      FEMA / Disaster Funding                                                     839       (711)       128
       Federal funds are received for disaster related spend                 Employee Retention Credit (ERC)                                             410       (410)       -
                                                                           Total (a)                                                                  6,548 $ (6,076) $        472
       once supporting documentation for an accrual or
       related expense are provided to and approved by
       FEMA. Therefore, FEMA funding may be received in                                                    YTD Federal Funds Net Cash Flows ($M)
       advance of actual cash disbursement, as payments to
       vendors may occur subsequent to when the
       corresponding services are rendedered / expenses                                               $0                $50               $100                $150              $200
       are recorded.
                                                                                    Medicaid (ASES)


                                                               Nutritional Assistance Program (NAP)


                                                                   Payroll / Vendor Disbursements /
                                                                   Other Federal Programs


                                                                           FEMA / Disaster Funding




Source: DTPR                                                                                                                                                                            13
                                       Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24                                                                                     Desc:
                                                  Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 15 of 19                                                                                                             As of March 8, 2019

Puerto Rico Department of Treasury | AAFAF
Payroll / Vendor Disbursements Summary


         Key Takeaways / Notes : Gross Payroll

   1.) The Liquidity Plan incorporates actual results through December,                                        Cumulative YTD Variance - Payroll by Agency ($M) (a)
                                                                                                             Department of Education                                        Department of Health
       hence there is no variance prior to week ended 1/4/2019. Police                                       Department of Correction and Rehabilitation                    Police
       payroll variance is due to the determined police "Pay Out" for prior     $20
                                                                                                             Other Agencies

       year debts ($45M) and the timing of cash transfers to the Police         $10
       Department for regular payroll. Payroll variances will be partially       $0
       offset by next week's cash activity.                                     -$10
                                                                                -$20
         Gross Payroll ($M) (b)                                       YTD       -$30
         Agency                                                  Variance       -$40
         Department of Correction & Rehabilitation             $        8       -$50
         Department of Education                                       (5)
                                                                                -$60
         Department of Health                                          (9)
                                                                                -$70
         Police                                                       (47)
                                                                                -$80
         All Other Agencies                                            (9)                  12/28     1/4       1/11         1/18          1/25            2/1      2/8         2/15        2/22        3/1        3/8
         Total YTD Variance                                    $      (62)
                                                                                                                                                   (Date)

         Key Takeaways / Notes : Vendor Disbursements
                                                                                                       Cumulative YTD Variance - Vendor Disbursements by Agency ($M) (a)
   1.)   YTD Vendor Disbursement variance is mainly due to lower than                                   Department of Education                                     General Court of Justice
                                                                                                        Department of Health                                        Department of Correction and Rehabilitation
         expected carryover payments from prior years, largely due to            $250
                                                                                                        Department of Justice                                       Other Agencies
         federally supported vendor disbursements lagging plan which is
         expected to be timing.                                                  $200


         Vendor Disbursements ($M)                                    YTD        $150
         Agency                                                  Variance
         Department of Education                               $     158         $100
         Department of Health                                          73
         Department of Justice                                          3         $50
         Department of Correction & Rehabilitation                      3
         General Court of Justice                                      (1)             $0

         All Other Agencies                                           214
                                                                                  -$50
         Total YTD Variance                                    $      450
                                                                                              12/28    1/4        1/11         1/18         1/25           2/1      2/8        2/15        2/22        3/1        3/8
                                                                                                                                                           (Date)
   Footnotes
    (a) The Liquidity Plan incorporates actual results through December, hence there is no variance prior to week ended 1/4/2019
    (b) Gross Payroll is equal to the sum of: (i) Net Payroll by Agency from the DTPR RHUM system; (ii) Other Payroll allocated by Agency based on the FY2019 budgeted amount for total
        payroll by agency. The aforementioned allocation of Other Payroll is used because the information is not available by agency. Gross Payroll cash disbursements excludes cash
        outlays for wage garnishments by Agency as this data is not available at a detailed level on a timely basis.



Source: DTPR                                                                                                                                                                                                                             14
                                    Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24                                                         Desc:
                                               Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 16 of 19                                                                           As of March 8, 2019

Puerto Rico Department of Treasury | AAFAF
Appropriations Summary


       Key Takeaways / Notes                                                                              YTD FY2019 Budgeted Appropriations Executed ($M)


   1.) Appropriations are generally executed throughout the year on a
       consistent basis each month. HTA is ahead of the expected FY19          ASES      $1,772                                                                            $2,925
       budgeted distribution of appropriations due to receipt of FY18
       budget reapportionments in July 2018. Additionally, ASEM has            UPR       $459                                                                              $646
       received certain special revenue fund appropriations that are not
       delivered on a consistent monthly basis.                               CRIM          $149                                                                           $228

                                                                               HTA          $228                                                                       $259


                                                                              ASEM          $80                                                                        $94

                                                                              PRITA         $52                                                                        $71

                                                                           All Other        $482
                                                                                                                                                                           $650

                                                                                       0%         10%   20%       30%   40%   50%     60%     70%     80%     90%   100%



   Remaining Approporation Budget ($M)                                                 YTD Approporation Variance ($M)
                                          Full Year                                                                              Liquidity Plan
   Entity Name             Actual YTD  Expectation           Remaining                 Entity Name                 Actual YTD               YTD       Variance
   ASES                $       1,772 $      2,925 $             1,152                  ASES                   $        1,772 $           1,816 $            44
   UPR                           459           646                187                  UPR                               459               459             -
   CRIM                          149           228                 79                  CRIM                              149               141               (8)
   HTA                           228           259                 31                  HTA                               228               226               (3)
   ASEM                           80            94                 14                  ASEM                               80                72               (8)
   PRITA                          52            71                 18                  PRITA                              52                53             -
   All Other                     482           650                167                  All Other                         482               445             (38)
    Total              $       3,223 $      4,872 $             1,649                   Total                 $        3,223 $           3,211 $          (12)




Source: DTPR                                                                                                                                                                                        15
                                    Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24                                                           Desc:
                                               Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 17 of 19                                                                              As of March 8, 2019

Puerto Rico Department of Treasury | AAFAF
Tax Refunds / PayGo and Pensions Summary


       Key Takeaways / Notes : Tax Refunds                                                                 YTD FY2019 Tax Refunds Disbursed ($M)


    1.) YTD Tax Refunds includes $410M of Employee                       ERC                                                                                                 $800
                                                                                                  $410
        Retention Credits (ERC). Historical seasonality
        suggests that largest portion of tax refunds will be                           $246
        disbursed to tax payers in Q4.
                                                                 Tax Refunds                     $246                                                                        $438


                                                                               0%                 25%                 50%                75%               100%                 125%

                                                                                                               (Percentage of FY19 Budget)




       Key Takeaways / Notes : Pension PayGo                                                             YTD Pension PayGo and Outflows ($M)

                                                                    Act -
    1.) YTD Pension Paygo and Outflow variance is                                                $297
                                                                PayGo Receipts
        temporary, and is expected to reverse in subsequent
        weeks.                                                       LP -
                                                                                               $232
                                                                PayGo Receipts




                                                                     Act -
                                                                                                                                                            $1,584
                                                               Pension Outflows

                                                                     LP -
                                                                                                                                                                  $1,648
                                                               Pension Outflows

                                                                                  $0    $200      $400       $600     $800    $1,000   $1,200   $1,400   $1,600     $1,800




Source: DTPR                                                                                                                                                                                           16
          Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
                     Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 18 of 19 As of March 8, 2019

Puerto Rico Department of Treasury | AAFAF
Schedule B: Central Government - Live Web Portal AP Aging (a) (b)
All Agencies

(figures in $000s)
Continues and Continued…

     ID   Agency Name                                                3rd Party       Intergovernmental        Total
                                                                     Payables             Payables

    078   Department of Housing                                  $         157,432   $           5,561    $       162,993
    071   Department of Health                                              84,366              40,637            125,003
    081   Department of Education                                           54,107               4,473             58,580
    049   Department of Transportation and Public Works                     22,555                   12            22,567
    024   Department of the Treasury                                        18,525               2,827             21,352
    095   Mental Health and Addiction Services Administration               10,323               1,635             11,957
    040   Puerto Rico Police                                                11,253                   22            11,275
    025   Hacienda (entidad interna - fines de contabilidad)                10,692                 432             11,125
    127   Adm. for Socioeconomic Development of the Family                  10,333                 247             10,580
    123   Families and Children Administration                               9,605                 160              9,765
    050   Department of Natural and Environmental Resources                  5,179               2,277              7,456
    016   Office of Management and Budget                                    7,151                    3             7,154
    038   Department of Justice                                              6,303                 124              6,427
    043   Puerto Rico National Guard                                         4,742                 530              5,272
    137   Department of Correction and Rehabilitation                        5,105                   99             5,204
    122   Department of the Family                                           4,807                   59             4,866
    028   Commonwealth Election Commission                                   4,008                   76             4,084
    126   Vocational Rehabilitation Administration                           3,761                    4             3,765
    021   Emergency Management and Disaster Adm. Agency                      3,349                   67             3,416
    124   Child Support Administration                                       3,150                 142              3,292
    031   General Services Administration                                    3,135                 106              3,241
    067   Department of Labor and Human Resources                            2,385                 388              2,773
    087   Department of Sports and Recreation                                1,925                 119              2,044
    241   Administration for Integral Development of Childhood                 473                 921              1,393
    015   Office of the Governor                                             1,105                   25             1,131
    120   Veterans Advocate Office                                           1,106                    2             1,108
    014   Environmental Quality Board                                          786                 274              1,060
    220   Correctional Health                                                  982                 -                  982
    290   State Energy Office of Public Policy                                 903                 -                  903
    105   Industrial Commission                                                654                 190                844
    022   Office of the Commissioner of Insurance                              737                    3               740
    045   Department of Public Security                                        695                 -                  695
    221   Emergency Medical Services Corps                                     659                   16               675
    155   State Historic Preservation Office                                   530                 -                  530




Source: DTPR                                                                                                                17
            Case:17-03283-LTS Doc#:12998-9 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
                       Exhibit 33 -TSA Cash Flow as of March 8 2019 Page 19 of 19 As of March 8, 2019

Puerto Rico Department of Treasury | AAFAF
Schedule B: Central Government - Live Web Portal AP Aging (a) (b)
All Agencies

(figures in $000s)
Continues and Continued…

      ID   Agency Name                                                         3rd Party          Intergovernmental               Total
                                                                               Payables                Payables

     055   Department of Agriculture                                                       458                          0                    458
     042   Firefighters Corps                                                              419                          4                    423
     018   Planning Board                                                                  337                          1                    338
     152   Elderly and Retired People Advocate Office                                      295                      -                        295
     035   Industrial Tax Exemption Office                                                 197                          1                    198
     096   Women's Advocate Office                                                         183                          3                    186
     023   Department of State                                                             185                      -                        185
     065   Public Services Commission                                                      179                          0                    179
     075   Office of the Financial Institutions Commissioner                               156                      -                        156
     141   Telecommunication's Regulatory Board                                            144                      -                        144
     139   Parole Board                                                                    102                          0                    102
     089   Horse Racing Industry and Sport Administration                                   82                      -                         82
     273   Permit Management Office                                                         77                      -                         77
     030   Office of Adm. and Transformation of HR in the Govt.                             71                      -                         71
     060   Citizen's Advocate Office (Ombudsman)                                            69                      -                         69
     226   Joint Special Counsel on Legislative Donations                                   55                      -                         55
     037   Civil Rights Commission                                                          55                      -                         55
     069   Department of Consumer Affairs                                                   53                      -                         53
     231   Health Advocate Office                                                           41                      -                         41
     062   Cooperative Development Commission                                               39                      -                         39
     281   Office of the Electoral Comptroller                                              21                      -                         21
     266   Office of Public Security Affairs                                                 8                        13                      21
     153   Advocacy for Persons with Disabilities of the Commonwealth                       17                      -                         17
     034   Investigation, Prosecution and Appeals Commission                                 9                      -                          9
     098   Corrections Administration                                                        3                      -                          3
     132   Energy Affairs Administration                                                     1                      -                          1
     224   Joint Commission Reports Comptroller                                              1                      -                          1
           Other                                                                        12,497                    2,259                   14,756

           Total                                                          $             468,572 $                 63,712 $                532,284

    Footnotes:
(a) Data presented above represents the Central Government live AP Web Portal repository of third party and intergovernmental invoices by
    agency, implemented for FY2019. The full transition to managing central government payables through the web portal is not yet complete
    and therefore the table above may not represent all Central Government AP. Ongoing efforts with the largest agencies to implement the
    appropriate processes and controls needed to fully transition to the web portal and realize improvements in reporting and efficiency continue
    as of the date of this report.
(b) On a go-forward basis, vendors submit invoices for approval through the live AP Web Portal where they are logged electronically, matched
    with the appropriate purchase order or other relevant documentation, and approved / vouchered at the agency level through the online
    interface.




Source: DTPR                                                                                                                                        18
